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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                      Plaintiff,

              v.                                       Case No. 21-cr-28

JAMES D. BEEKS,

                      Defendant.


                                   STATUS REPORT

       James Beeks, by counsel, files this Status Report to provide the Court with an

update concerning his efforts to obtain employment and permanent housing. Counsel for

Mr. Beeks consulted with counsel for the Government and Pretrial Services prior to filing

this Status Report.

       Mr. Beeks presently is in Orlando, Florida and actively searching for a job. This

Court previously granted Mr. Beeks’s motions to modify his release conditions to allow

him to reside temporarily in the Western District of North Carolina, without GPS

monitoring, while he looked for permanent housing and employment (ideally, in his

home state of Florida). See R.644; R.655. Mr. Beeks had an in-person job interview at a

technology company in Orlando, Florida, on June 16, 2022 and traveled to Florida for the

interview. He is staying at a friend’s home, where he has represented that no firearms are

present. His friend presently is on vacation. He is abiding by his curfew condition and




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has checked-in with Pretrial Services every day, as required, without incident. Pretrial

Services is aware of the address where Mr. Beeks is staying.

       Mr. Beeks intends to stay in Orlando until July 9, 2022. As far as Mr. Beeks is aware,

he did not receive the job for which he interviewed last week, and he actively is searching

for new employment. In the interim, he is able to earn some money as an Uber driver—

something he cannot do in the Western District of North Carolina, where, he reports,

there is substantially less demand for Uber in the (non-metropolitan) area surrounding

his family members’ home. Mr. Beeks is able to stay in Orlando rent-free at his friend’s

home through July 9, 2022, when his friend returns from vacation.

       The parties have met and conferred. Pretrial Services has represented to defense

counsel that, absent an order from the Court, it cannot conduct a home visit of the

residence where Mr. Beeks presently is staying in Orlando. The Government requests

that Pretrial Services conduct a home visit of any home at which Mr. Beeks is permitted

to stay. It further requests that, until Mr. Beeks has a stable residence, Pretrial Services

monitor Mr. Beeks with, at a minimum, weekly in-person check-ins in addition to daily

phone check-ins. The defense does not object to either of the Government’s requests.

       The hope is that Mr. Beeks can obtain employment and housing in Orlando and

remain there on a permanent basis. If, prior to July 9, 2022, Mr. Beeks has secured

employment and housing, then counsel for Mr. Beeks will file a motion to modify

Mr. Beeks’s conditions of release, requesting that Mr. Beeks be permitted to remain in

Florida. If, prior to July 9, 2022, Mr. Beeks has not secured employment and housing in

Florida, then he will return to his family members’ home in the Western District of North
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Carolina on July 9, 2022 (and no motion to modify conditions of release will be filed).

Under either scenario, all other conditions of release will remain in place.

       Dated at Milwaukee, Wisconsin, this 29th day of June, 2022.

                                             Respectfully submitted,

                                              /s/ Joshua D. Uller
                                              Joshua D. Uller, WI Bar #1055173
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                                              Counsel for James Beeks




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                              CERTIFICATE OF SERVICE

       On this 29th day of June, 2022, I filed the foregoing document electronically with

the Clerk of the Court for the United States District Court for the District of Columbia by

using the Court’s CM/ECF system, which will provide electronic service on all counsel

of record.


                                          /s/ Joshua D. Uller
                                          Joshua D. Uller




                                                                  FEDERAL DEFENDER SERVICES
                                                                          OF WISCONSIN, INC.
